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                      IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
                            IN AND FOR BROWARD COUNTY, FLORIDA

              CASE NO. CACE20015682 DIVISION: 21               JUDGE: Singer, Michele Towbin (21)

     Shoma Homes at Nautica Single Family Neighborhood

     Plaintiff(s) / Petitioner(s)

     v.

     Marisa C Smith

     Defendant(s) / Respondent(s)

     ____________________________/

              Final Summary Judgment of Foreclosure, Taxation of Costs and Attorney’s Fees


                THIS CAUSE having come before the Court on the Plaintiff’s Motion for Final Summary

     Judgment of Foreclosure, Taxation of Costs and Attorney’s Fees on May 2, 2022 and continued on May

     3rd and May 9, 2022. Plaintiff and Defendant were represented by Counsel and the Court having heard

     argument of Counsel, having considered the motion, the evidence presented and the applicable law, and

     being otherwise apprised in the premises,

                IT IS ADJUDGED that:

                1.           Plaintiff’s Motion for Final Summary Judgment of Foreclosure, Taxation of Costs
     and Attorney’s Fees is GRANTED. Service of Process has been duly and regularly obtained over the

     Defendant, MARISA C. SMITH.

                2.           Amounts Due. Plaintiff, SHOMA HOMES AT NAUTICA SINGLE FAMILY

     NEIGHBORHOOD ASSOCIATION INC., c/o Miami Management, Inc., 3691 SW 164th Ave.,

     Miramar, FL 33027, is due the following:


      Principal due 9/23/15 through 5/9/22 for assessments                                    $17,294.24
      Interest on said principal due through 5/9/22                                            $1,970.41
      Miami Management demand letter and certified mail charges                                  $114.00
      Less payments received (applied per Fla. Stat. § 720.3085)                              -$6,841.51

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 COSTS INCURRED:
 Recording and Processing Fee (Claim of Lien)                                                      $13.50
 Title & Name Searches                                                                            $225.00
 Administrative Costs (archive/copy fee; bankruptcy searches; postage)                             $20.45
 Court Filing Fees (Complaint, Lis Pendens, Summons issuance)                                     $435.74
 Service of Process                                                                                $90.00
 Court Reporter Fees                                                                              $977.20
 Expert Witness Fee (Reasonable Attorney's Fees)                                                   $40.00
 COSTS TO BE INCURRED:
 Clerk’s Auction Sale Fee                                                                         $142.50
 Publication Costs (Daily Business Review, Notice of Sale)                                        $245.00
 SUB-TOTAL                                                                                     $14,726.48
 ATTORNEY'S FEES (8/7/20 through 5/9/20)                                                       $19,460.25
 TOTAL                                                                                         $34,186.73

       3.           Attorney's Fees. The Court finds, based upon affidavits presented and upon inquiry

of counsel for the Plaintiff, that 80.65 hours were reasonably expended by Plaintiff's counsel and that

the flat rates of $31.25, $97.50 and $250.00, the hourly attorney rates of $0 and $260.00 and the hourly

paralegal rates of $0 and $135.00 are appropriate. PLAINTIFF'S COUNSEL REPRESENTS THAT

THE ATTORNEY FEE AWARDED DOES NOT EXCEED ITS CONTRACT FEE WITH THE

PLAINTIFF. The Court finds that there are no reduction or enhancement factors for consideration by

the court pursuant to Florida Patient's Compensation Fund v. Rowe, 472 So.2d 1145 (Fla. 1985).
            4.         Interest. The grand total amount referenced in Paragraph 2 shall bear interest

from this date forward at the prevailing legal rate of interest.

            5.         Lien on Property. Plaintiff, SHOMA HOMES AT NAUTICA SINGLE

FAMILY NEIGHBORHOOD ASSOCIATION INC., whose address is c/o Miami Management, Inc.,

3691 SW 164th Ave., Miramar, FL 33027, holds a lien for the total sum specified in paragraph 2 herein.

The Lien of the Plaintiff is superior in dignity to any rights, title, interest or claim of the defendants and

all persons, corporations, or other entities by, through or under the defendants or any of them and the

property will be sold free and clear of all claims of the defendants. The Plaintiff’s lien encumbers the

subject property located in Broward County, Florida and described as follow:
       LOT 41, BLOCK 8, OF NAUTICA PLAT, ACCORDING TO THE PLAT


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        THEREOF, AS RECORDED IN PLAT BOOK 164, PAGE 36, OF THE PUBLIC
        RECORDS OF BROWARD COUNTY, FLORIDA;

        a/k/a 3809 S.W. 164th Terrace, Miramar, Florida 33027.

          6.           Sale of Property. If the grand total amount with interest at the rate described in

Paragraph 4 and all cost accrued subsequent to this judgment are not paid, the Clerk of the Court shall

sell the subject property at the public sale on June 14, 2022 at 10:00 a.m. to the highest bidder or

bidders for cash, except as prescribed in paragraph in 6, at: https://www.broward.realforeclose.com/ the
Clerk's website for on-line auctions at 10:00 a.m. after having first given notice as required by Section

45.0315, Florida Statutes.

          7.           Costs. Plaintiff shall advance all subsequent costs of this action and shall be

reimbursed for them by the Clerk if Plaintiff is not the purchaser of the property for sale. If Plaintiff is

the purchaser, the Clerk shall credit Plaintiff’s bid with the total sum with interest and cost accruing

subsequent to this judgment, or such part of it, as is necessary to pay the bid in full. The Clerk shall

receive the service charge imposed in Section 45.031, Florida Statutes, for services in making, recording

and certifying the sale and title that shall be assessed as cost.

          8.           Right of Redemption. On filing of the Certificate of Sale, Defendant's right of

redemption as proscribed by Section 45.0315, Florida Statutes, shall be terminated.
          9.           Distribution of Proceeds. On filing the Certificate of Title, the Clerk shall

distribute the proceeds of the sale, so far as they are sufficient by paying: first, all of Plaintiff's costs;

second, documentary stamps affixed to the certificate; third, Plaintiff's attorney's fees; fourth, the total

sum due to Plaintiff, less the items paid, plus interest at the rate prescribed in paragraph 2 from this date

to the date of the sale. During the sixty (60) days after Clerk issues the Certificate of Disbursement, the

Clerk shall hold the Surplus pending further Order of this Court.

          10.            Right of Possession. Upon filing the Certificate of Title, Defendants and all

persons claiming under or against Defendants since the filing of the Notice of Lis Pendens shall be

foreclosed of all estate or claim in the property and the purchaser at the sale shall be let into possession

of the property, subject to the provisions of the "Protecting Tenant at Foreclosure Act of 2009".
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          11.           Jurisdiction. The Court retains jurisdiction of this action to enter further orders

that are necessary and proper, including, without limitation, to re-foreclose on the claim of lien, to

amend or supplement the judgment to include additional shared component unit costs, interest and late

fees, as prescribed in paragraph 2, that become due prior to the sale, and attorneys’ fees and costs that

incur in the enforcement/execution of this judgment prior to the sale, to appoint a receiver for collection

of rent from any tenant, to issue writs of possession and deficiency judgments.

            NOTICE PURSUANT TO AMENDMENT TO SECTION 45.031, FLA. ST.

IF THIS PROPERTY IS SOLD AT PUBLIC ACTION, THERE MAY BE ADDITIONAL MONEY
FROM THE SALE AFTER PAYMENT OF PERSONS WHO ARE ENTITLED TO BE PAID FROM
THE SALE PROCEEDS PURSUANT TO THIS FINAL JUDGMENT.

IF YOU ARE A SUBORDINATE LIENHOLDER CLAIMING A RIGHT TO FUNDS REMAINING
AFTER THE SALE, YOU MUST FILE A CLAIM WITH THE CLERK NO LATER THAN 60 DAYS
AFTER THE SALE. IF YOU FAIL TO FILE A CLAIM YOU WILL NOT BE ENTITLED TO ANY
REMAINING FUNDS.

IF YOU ARE THE PROPERTY OWNER, YOU MAY CLAIM THESE FUNDS YOURSELF. YOU
ARE NOT REQUIRED TO HAVE A LAWYER OR ANY OTHER REPRESENTATION AND YOU
DO NOT HAVE TO ASSIGN YOUR RIGHTS TO ANYONE ELSE IN ORDER FOR YOU TO
CLAIM ANY MONEY TO WHICH YOU ARE ENTITLED. PLEASE CHECK WITH THE CLERK
OF THE COURT, BROWARD COUNTY COURTHOUSE, 201 S.E. 6th STREET, FORT
LAUDERDALE, FL 33301, WITHIN TEN (10) DAYS AFTER THE SALE TO SEE IF THERE IS
ADDITIONAL MONEY FROM THE FORECLOSURE SALE THAT THE CLERK HAS IN THE
REGISTRY OF THE COURT.

IF YOU DECIDE TO SELL YOUR HOME OR HIRE SOMEONE TO HELP YOU CLAIM THE
ADDITIONAL MONEY, YOU SHOULD READ VERY CAREFULLY ALL PAPERS YOU ARE
REQUIRED TO SIGN, ASK SOMEONE ELSE, PREFERABLY AN ATTORNEY WHO IS NOT
RELATED TO THE PERSON OFFERING TO HELP YOU, TO MAKE SURE YOU UNDERSTAND
WHAT YOU ARE SIGNING AND THAT YOU ARE NOT TRANSFERRING YOUR PROPERTY
OR THE EQUITY IN YOUR PROPERTY WITHOUT THE PROPER INFORMATION. IF YOU
CANNOT AFFORD TO PAY AN ATTORNEY, YOU MAY CONTACT LEGAL AID SERVICE OF
BROWARD COUNTY, INC., AT (954) 765-8950 TO SEE IF YOU QUALIFY FINANCIALLY FOR
THEIR SERVICES. IF THEY CANNOT ASSIST YOU, THEY MAY BE ABLE TO REFER YOU TO
A LOCAL BAR REFERRAL AGENCY OR SUGGEST OTHER OPTIONS. IF YOU CHOOSE TO
CONTACT LEGAL AID SERVICE OF BROWARD COUNTY, INC., 491 N. STATE ROAD 7,
PLANTATION, FL 33317, FOR ASSISTANCE, YOU SHOULD DO SO AS SOON AS POSSIBLE
AFTER RECEIPT OF THIS NOTICE.



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DONE AND ORDERED in Chambers at Broward County, Florida on 25th day of May, 2022.



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                                                              Hon. Michele Towbin Singer
                                                               CIRCUIT JUDGE
                                              Electronically Signed by Singer, Michele Towbin (21)

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